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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA


LASHAWN JONES, ET AL.                                      CIVIL ACTION NO. 12-859

VERSUS                                                     SECTION I, DIVISION 1

MARLIN GUSMAN, ET AL.                                      JUDGE LANCE M. AFRICK
                                                           MAGISTRATE JUDGE NORTH

                                     STATUS REPORT

       The City of New Orleans (the “City), hereby submits a Status Report on the progress of

the Temporary Detention Center (“TDC”) renovation and Phase III facility, in response to the

Court’s Order of March 18, 2019, (R.Doc. 1227).

       Subsequent to Blanchard Mechanical Contractor (“BMC”) being selected the lowest

qualified bidder for the TDC renovation project, the City, Orleans Parish Sheriff’s Office

(“OPSO”) and FEMA began coordinating to accomplish the TDC facilities and Project Schedule

extension timeline. The projected construction notice to proceed date (NTP) of July 1, 2019, has

been extended pending FEMA’s approval. All are aware of the urgency of the matter. The

projected construction completion date for TDC is eight months from issuance of the notice to

proceed.

       Members of the Executive Group (City, OPSO, Monitors, Attorneys, Wellpath,

Grace/Hebert Architects (“GHA”), and Hill International, Inc. (”Hill”)) met on June 19, 2019, to

discuss programming recommendations for Phase III. The Group agreed to review and make

appropriate programming comments, if any, by June 26, 2019. Subsequently, Hill received joint

comments from DOJ and Plaintiffs, and separately received comments from the monitors, all of

which were reviewed by Hill and GHA, and addressed as appropriate.
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       Hill subsequently recommended proceeding with the Schematic Design (SD) for Phase III

of OJC, and on July 8, 2019, Hill instructed GHA to begin the SD concept documents. During the

past two weeks, the design team has had several concept review meetings with the City, OPSO,

Wellpath, Monitors and others to establish the new Phase III concept plan. On Wednesday, July

17, 2019, the SD concept documents were presented for review and comment as we continue with

plan development. The SD phase is scheduled for completion within the next thirty (30) days. The

current projected completion of Phase III is June, 2022, assuming no unforeseen delays.

                                            Respectfully submitted,

                                            ___/s/ Sunni J. LeBeouf____________
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